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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

      UNITED STATES OF AMERICA

      v.
                                                      No. 4:22-CR-00612-S
      EDWARD CONSTANTINESCU,
      PERRY “PJ” MATLOCK,
      JOHN RYBARCZYK,
      GARY DEEL,
      STEFAN HRVATIN,
      TOM COOPERMAN,
      MITCHELL HENNESSEY,
      DANIEL KNIGHT.


                                       ORDER


      ON THIS DAY came to be considered Defendants Motion to Compel Evidence
Production and having been considered, said Motion is hereby:


__________GRANTED.


__________DENIED.


           SIGNED AND ENTERED this the _____ day of June 2023 at Houston, Texas.




                                      ________________________________
                                       HONORABLE ANDREW S. HANEN
                                       UNITED STATES DISTRICT JUDGE




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